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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA

                               Case No.: 6:24-01214-GAP-DCI

ELIJAH MCLEAN,

       Plaintiff,
v.

EXPERIAN INFORMATION SOLUTIONS
INC, EQUIFAX INFORMATION
SERVICES LLC, TRANS UNION LLC,

     Defendants.
_______________________________________/

        NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
              AS TO DEFENDANT TRANS UNION LLC

       Plaintiff Elijah Mclean, by and through undersigned counsel, pursuant to Rule

41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, hereby files this Notice of

Voluntary Dismissal with Prejudice as to Defendant Trans Union (“Trans Union”)

only in the above-styled action. Defendant Trans Union has not served an answer or

motion for summary judgment. Plaintiff and Defendant Trans Union shall each bear

their own attorneys’ fees and costs.




                                                                                             PAGE | 1 of 2
                              LAW OFFICES OF JIBRAEL S. HINDI, PLLC
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DATED: October 21, 2024

Respectfully Submitted,

/s/ Gerald D. Lane, Jr.
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Phone: 954-907-1136

COUNSEL FOR PLAINTIFF


                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on October 21, 2024, the foregoing was

electronically filed with the Clerk of the Court using the CM/ECF system which will

send a notice of electronic filing to all counsel of record.

                                                     /s/ Gerald D. Lane, Jr.
                                                     GERALD D. LANE, JR., ESQ.
                                                     Florida Bar No.: 1044677




                                                                                             PAGE | 2 of 2
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